      Case 17-35592 Document 24-1 Filed in TXSB on 10/27/17 Page 1 of 2
                                                                  REPRESENTATION O' PRINTED DOCUVENT

   ~ BANK OF TEXAS                                                                                                      Escrow Account Disclos ure Statement
                                                                                                                        and Noti ce of New Mortg age Payme nt
                MORTGAGE
                                                                                                                     SllIlIof'I'al'll [)8!.                                              IOfI0i'2017
                PO 00)( (,'8Oel' CALlAS. IX '~25;·~,1eJ
                Ht:ru"l\j SCRVCf O!;LY . 1' .... !lonol ••"".."", 10 ""•        .oOdiHS                              AN ,1$la Revfew"tfil)d.                                  12/01120\1., tfl0l20le

                                                                                                                     P'Of)O!rty Add',IS'                                       16210 CAR SON CIR
                                                                                                                                                                          MISSOURI CITY, 1X n~ "9
                                                                                                                                                               CUff""                       EN",!....
                                                                                                                                                                                            1 U011 17
                  ALMA. l PE Tt:HSON
                                                                                                                     I>fI"l(OP' &. Inl ....1 pm~
                  EREINA S PETERSON                                                                                                                            SC<lS.5l!                     I 6-I5lie
                  16:210 CARSON CIR                                                                                  hCf(W/ Pal"!"lOI\l;                       $)5() 37                      J!I10.19
                  MISSOURI CITY TX 77489·3950                                                                        OP\!t)."'-IIn .... ,.~                        '.00                            $0'
                                                                                                                     ~IiAu::.-· • .-.e4I                           . 00   '00
                                                                                                                     1l'IN1.'~
                                                                                                                   ~~~
                                                                                                                     ·"""
                                                                                                                                                         .",.i I "S.u!> "u.
                                                                                                                                              ________"""''''-________lh""1!_1              l'
                                                                                                                                                                                                 $04"11




In B(.Cc>raI(lCl Wll h (edersl "u><kt~ne. Ba n ~ of Te)(.......1 ra'View y01.lf .wow eocou"l'                                          C\l!INr.cr SCI"\' '';~ : 8{,6.910·S211
OIInl'lI.1I.Iy. Ttl6 rO'lftw of your e~crrl'N loco",n! 's TO en.UfO !no o.erOW' POI11Ofl of your
5CJ'1todulod mortgltg. tlfl),,'"ftnl "'r'{;~ntty ChoIlW'S your property IaMIS andlor inSuranc.                              MOlo:b y- Frid;1Y 7:00 a.M. to /1.00 p.m, (CSn
prll1'it..ml. CUf1I,n COr>d 11005 may r&qUlre your e5CIOW tc:COUl'lt to be TltVielo'8d fl\Ofe Illan
                                                                                                                          Vl~ i t   us onhne     ~I.   bankoflc ......,   flIong~ieccn.con;
OtIC. in B 17. rron\h perloC.It\C'las8s Of deGrease, In )'O<ll allnlJallaxes a-ml:lr Insurance
pren1 l..ms " ,,1y callSI ttll escrow por1.on of you. mortgage p'~ment lmoJnt to chango.
P,eD.,e ,s'Aew thls s\alemenl clotely as il d6t ai~. the rlIIW e$Crow accOLnl flnalylll" build
DfI the pro/CCted account actIvity


  Anticipated Annual OltlburSeffient s                                                       Escrow Accounl ProJection for the Coming                        Y03r

MORTG.a.GE INS                                 S&C:!.72         Month of    Paymont.s                                              Payments              CurrllOl Bit            Required Bit!.
                                                                                             De&CI~11on
COUtlTY TAX                                  $2,471.53          Acliy, ty   To Escro ....                                        from EIlClow             ProjectiOn              Plo,eclion
ADDT10NAl TAXES                                S85983             DEC            $510.79 mSK B"'SEO P                                     ·$ 50.:11          $3,794 01               S",,288.32
HAZARD 1'>15                                 $2,158.48            DEC                ' .00   COUNTY TAlI                               ·$132.93              $3,06 1.0!              $3,555 39
                                                                  DEC               $.0(1 COUNTY TAX                                 -$1,744&0               $ 1,3 1648              $1.810.79
To!.,o..bulllfIITlOfI1s                      56,129.5B
                                                                  DEC               ' .00 "UO                                          ·$889.83                $42ti 65 •               $920.96 ••
Drildod by 12 1'I000lht
                                                                  JAN           $5 10.79 RISK BASED P                                   ·$50.31                $587,13               $1,381.44
'-1001 I'I~ (KIC"'" OePO~1                     5510.79            FEB           5510.79 RISK BASED P                                    ·$50,31              $1,347.!! 1             51 .S4I.ii2
                                                                  ~AR           $5 10.79 RISKBASEU P                                    ·$50.31              $1,808.09               52,302.40
                                                                  APR           $510.79 AISKBASEO P                                     .$SO,31              $2,26857                "S2,T!!2 .88
                                                                  MAV           $510.79 RI SK BASED P                                   ·$50.31              S2,nS,Uti               S3 ,Z2336
                                                                  JUN           $510.79 RISK BASED P                                      ·$503 1            I3.189.53               S3,se364
                                                                  JUl           ~ SI0,79 RISK RASto p                                   -$.$0,31             $3.650.0 1              54,144.32
          Explanation of Shortaga                                 AUO           $510.79 RISK BASEDI'                                    ·';50.3 1            54. 110.49              ~.600UIO
                                                                  srf'          $5 ~ O.T9    ruSK BASED P                               -$50.3 \             $4.570.91               SSOU?8
  f'rOjOC\cId Low     ~O!f)!     rJ                  S."U5        SEP              ' .00 INSURANCE                                   ,$2,15848               $ 2,412.49              $2.906 eo
 "*""'.~,.      low. POI'll (.. )                    h1O~         OCT           $51079 ({ISK BASED P                                    -$W."                $2 ,8n.97               $),387.18
                                                                  NOV           $510 79 RISK BASf1) P                                   ·'bO.3 1             $3.33345                13,827.1&
                                                                TOTAL         S6,129.049                                             .$e ,1211.56



 --.
                                                    $~~ .ll
  St>.:.\~

 E_~""~l_<><"l'
                                                      S.I,111


  ' ;>,oJlcltd le..... Po l" t - lh, po;.,1CU..>g I'l l
  1li0/i\i11 pfIlOd aI...t.:1I lhe jYt!~dod "SCI(Mo¥
  ba Me. wi. ftll.C'/"I ill JooJyo;e.1 pOIOl.
  -AI\:) .... b'- l uw Point· Vov:1 "',"',,,
  IT' 'WY'1IfT\ ......W b.'~~!;If U2D.t~           covw.
  "'..... lIOOJole(l tI~~~...-..n~, and.'C 1 .net.Utll
  IO' :.~ 01' 1I6l1o. 6'ftlllXl irl, .....,f)Ct p',...,.'<11s
  11"1 IntO(.-"Il   11<,)0, II(>I ~' 'fOUl     mcngll'}<l
  .... ~"r.aro::l tH'''' \JOTI

                                            How we c alc ul atod you r escrow shortage
                                            Your lowost projected low point                                                                            $426.65
                                            Less your allowable minimum escrow balance                                                                 $920 .96
                                            This means your escrow account has a shortage of                                                           $49431

                                                                                   IN TERNET REPRINT

@ BANK OF TE XAS                                                                                                        Esc row Shortage Payment Coupon
        MORTGAGE                                                                                                An aly. l. Date                                            Short"' OIt Amount
                                                                                                                 1011 012017                                                     ~ 9-13 l


                                                                                                           Your oscro ,,", di5~ ufil inuicates I 5hortage of $CU.'! .
Plell'>-lt wriio your Iolln nurrber on YOUI checl!. al'\d ITIIIII IO:
                                                                                                           For )'oor convo",lenca wo have ,plead thl' .IIlYIOun t o~e r 12
                                                                                                           fllOnlhl lind In-eluded It In your n$W MOrolhly paymenlln thll {I'oouni ot
           B.nk of TeXS'                                                                                   .$ 1. 197.56 olfoc \ivo DecemboT I , jo011.
           PO Box 2 1368
           Tulsa , OK 74121                                                                                HOWOVO ' , you m ay ch oote to PitY tho s hortag o i n                        full
                                                                                                           and roduco your new monthty pl ylTMnt to $1 ,156,37.
                                                                                                           To vay yow shortrl'.}l1 :1'1 fJ1!. :'10.1\0 U<"'IIICh Ihi4 coupon alld l etu'n
                                                                                                           I~ with yoo r CI'lOC". OIlCf! lOu 1>f)OI;!;lg6 p-.yrnent G mcl!l'l·'" ~ our
                                                                                                           paymtl(l: ....... be adjusted ICCOfd'ngly.
  Case 17-35592 Document 24-1 Filed in TXSB on 10/27/17 Page 2 of 2
                                                       A nnual Esc ro w Accoun t Disclos ure Statem ent



                                                                                                             Dilla Analyzed: 10/10/2017


                                                                    Pr ior 12 Mo n th Esc row History

 , ,,,s sl~ll cmCl I! ItOtnllOS your eClOn! OSCIOW .ICCOunl transac tions ':.mce your prO\ll()lIS analysIs slm om onl or inltin l
 " ls(,.I(l<;~lro 1110 prOjOCliOnS Irom your pr(nliOUS (lncrow nnalysrs are 10 the lef! of the actual paym en l!'i (lnd thsblirsomenl s .
 0'1 compnnnq the- actual escrow payrnenl Wllh the prCV1om, IHoJectlons IISl od, YOU        . can d ~ l e rmlno wh ere a ditference may
11, I\loo(;currnd An asla/lsk (') mdlcmos Il dlfleronclJ In M llor tho <ltllOUfl\ or dalo

 When flpplicab le , t he InUer 'E ' be sido a n amount indicatos that a pa yment or disbursement has n ot yet occurred bu t is
 esl1 l1lal ed. 10 o c cur as S/1Own.



.. ...,
Menlf1 01
              ""'..
              ~.I!IIj

                               "'....
                               Ac.k..r                          Arl\IeI~lod
                                                                .,.-~
                                                                              ;:Olyn.,. ,I        A.;:bll f>ilrmtnl
                                                                                                  OeloCl 'DI.Icn

                                                                                                               STARTING S.'.LA"IC[
                                                                                                                                      N ,\j(:-Il-,td
                                                                                                                                      Illl lllf>Ol

                                                                                                                                          S4.5J6 74
                                                                                                                                                         -,
                                                                                                                                                         S.!If1Ge

                                                                                                                                                           $1   83~.95
  ,..",            I~,e            1!>:o(lJT •            $!oUt AlSk eASED po
                                                                n
                                                                                                               '\151( El.-.sF O P          SA 990 .• 1      f l,Jee   n
  '"..19'1                                             12.076    lN$UI\oV. :";C
                                                                 RJSK BA5fO p                 $51 M '
                                                                                                               INSUKANCE
                                                                                                               AISI( eASEO P
                                                                                                                                           " 113.611
                                                                                                                                           $H 1361l
                                                                                                                                                            ".3e6.3~
                                                                                                                                                            U.3~      11
                   ' ~~1!          ~50J/ ' E              $61.61 RiSK 6A.S[ O f'              U t 61 £         RISI( BASEO P               U l6·'.~6        12.11331,-,

                                                   ,
  '0-11
  11·17            $$.Y.o.2@       $S5C 37 • F            S5161 RJS'rI.Bo\SEO I>              150 31 ' E       '1150< BASED V              un,o)            SJ.13351


                                                                                                        ..
                                                                                                        "'"'
  '.'.\ .'         ,~~   21l                   "          15161 RISK BASEl) D                                  RlSo( 045m P                54 HI..TO        ' 3.33) bl
   1~·17                                               SI .1•• 1W CQUNlY rAX                                   COIJNTY TAA                 51530 10         Ulll53
  '2- 'T                                                 J732t3 COUNTY fAA                                     COO"'TYlAA                  1',797. 17       u :m~)
                                                                                                        'I'.   .JO
                                                   ,
                                                                                                                                              511013.

                                                   ,
   '~·I'                                                 UUtJ "UO                                                                                           $),l..lJ53
  01. "            ',)~.2'
                                               "                    RISK Mseo p                         "r     RISKS-'SEl) P               $I.J6I.OI        1313353


                                                .,,
                                                           $tli "
  (rJ   ~II        S~2~                        "           $51 ., RISK64SEJP                            "[     RISK OASED P                $I,114 e.e       U1J J.()3
                                                           S!>1111 RISKSAS':! P
                                                                                                        "'"'   RISK BASED P                S2 2115 35
                                               "
  (1'3. ~e         nOS2e                                                                                                                                    SU33.iS3
  0.. ·11          Sso!>.211                               551111 RISK BAS[O P                                 RRiI< 9AS(0 P               5:1.72202        Sl.1J.3.5J

                                               ""'E
  .,.,."                                                                                                "r
  .,,'
                   SS1)5 2.                                5516 1 RISK BASED P                                 R;ISI( BASED P              U,HUIl           SUll SJ
                   SSG5.28                                 '!II 111 H.1SII.6ASEO F'                     "r     RISK BASED P                ne:1i311         53.)31 53
  07 . ,.
  ')8 lP
                   '~2~
                   SS()5,28                    "'
                                               "E
                                                           5:;161 AIl':k BA"i£O P
                                                           '!lUI RISlI.e...seop                         "'"r   RISI( flASEO P
                                                                                                               RiSl( a,v;!<o p
                                                                                                                                           $",063 OJ
                                                                                                                                           H~./O
                                                                                                                                                            5U3J~
                                                                                                                                                            $3,)3353

 TOlal           $II (63)b       11 6!:1. 1~           se (6) 1,0                            $1~J.iS3




For edaillonal escrow information and/or Information reiattld !o your mortQago account. plea:;e                               v sit
bankoftoxas.mort.gagaccn.com.

For cuslomCl(!i enrolled In fl lectronlc withdrawal for your monthly mor1gag" payments , your monthly wlthdrawal l'lmollnt will
~ updated effe ctive with December 1, 2017 peyment.

If you al e not curr entl y enrolled In electro nic withdrawal and would like to do so, we offer oasy anrol:mcnt onlino at
bankoft oxalJ .fTl(Il1gagElccn .com
